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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

FTX TRADING LTD. et al.,1                                            Case No. 22-11068 (JTD)

                                    Debtors.                         (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX                                        Adv. Proc. Case No. 23-50444 (JTD)
TRADING LTD.,

                  Plaintiffs,

vs.

PLATFORM LIFE SCIENCES, INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                  Defendants.


                                                            Hearing Date: October 19, 2023 at 10:00 A.M. (ET)
                                                          Objections Due: September 29, 2023 at 4:00 P.M. (ET)
                                                             Reply Deadline: October 6, 2023 at 4:00 P.M. (ET)

      REPLY OF PLATFORM LIFE SCIENCES, INC., A CANADIAN CORPORATION,
       TO PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS COMPLAINT FOR
          LACK OF PERSONAL JURISDICTION PURSUANT TO RULE 12(B)(2)

         Platform Life Sciences Inc., a Canadian corporation with its principal place of business in

British Columbia, Canada (“PLS Canada”), hereby submits this Reply to the Opposition to


1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
4063 respectively. A complete list of the Debtors and the last four digits of their federal tax identification numbers
may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The
principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex,
Friars Hill Road, St. John’s, Antigua and Barbuda.
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Defendant Platform Life Sciences Inc.’s Motion to Dismiss for Lack of Personal Jurisdiction (the

“Opposition”) filed by Plaintiffs Alameda Research Ltd., a British Virgin Islands company

(“Alameda”) and FTX Trading Ltd., a corporation registered in Antigua and Barbuda (“FTX

Trading” and, together with Alameda, the “Plaintiffs”). In support, PLS Canada submits the

concurrently filed Supplemental Declaration of Dr. Edward J. Mills, the Chief Executive Officer

of PLS Canada (the “Supplemental Mills Declaration”).

                                                              I.

                                        PRELIMINARY STATEMENT

         1.        The Plaintiffs’ attempts to paint PLS Canada as something it is not to support

jurisdiction over this Canadian company is unsupportable, based on minutiae and misleading. It

is beyond question that this is a dispute involving non-U.S. entities on both sides. PLS Canada,

on the one hand, and the non-U.S. Plaintiffs and the Plaintiffs’ non-debtor, non-U.S. affiliate,

Latona Biosciences Group (“Latona”), on the other. The Plaintiffs’ claims against PLS Canada

related to the funding provided to this Canadian company to its bank in Canada they now seek to

claw-back did not arise from business activities directed to the U.S. and, therefore, specific

jurisdiction over PLS Canada is not proper. Moreover, contrary to the Plaintiffs’ assertions that

PLS Canada operates 83 clinical trial sites in the U.S., including in collaboration with CVS, it does

not.2 PLS Canada operates no clinical trial sites, and has no business operations, in the U.S. It

develops and operates clinical trial sites in developing and underrepresented non-U.S. nations.



2
 This allegation is based on a draft powerpoint created internally at PLS Canada which reflects PLS Canada’s existing
business and ideas for future business, including its hopes for future expansion into the U.S., and what it hoped might
be a project with CVS that never made it past the initial idea stage (Plaintiffs Ex. 3 (pp. 5-6) (draft powerpoint);
Plaintiffs Ex. 39 (CVS press release making no mention of PLS Canada)). In fact, CVS ceased their clinical trial
program earlier this year. https://www.fiercehealthcare.com/retail/cvs-closing-down-clinical-trials-business-after-2-
years, a print out of which is attached to the Supplemental Mills Declaration as Ex. B. PLS Canada has never had a
business affiliation with CVS, or the potential “experts and access sites” in the U.S. identified in the draft presentation.
Supplemental Mills Declaration, ¶ 6.

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PLS Canada has remote employees in the U.S. that work on these projects – they do not direct

their business activities at projects in the U.S. and PLS Canada’s leadership and decisionmaking

is in Canada, not in the U.S. PLS Canada is incorporated, headquartered and does business, in

Canada. In the Third Circuit, it is “incredibly difficult” to establish general jurisdiction over a

foreign corporation that is not incorporated or doing business in the U.S. Malik v. Cabot Oil &

Gas Corp., 710 Fed. Appx. 561, 563 (3rd Cir. 2017). PLS Canada’s contacts with the U.S. are

insufficient to consider PLS Canada “at home” in the U.S. for purposes of exercising general

jurisdiction.

                                                III.

                                           ARGUMENT

A.      This is a Dispute Regarding Transactions Between Non-U.S. Entities
        and a Tenuous Connection to U.S. Bank Accounts Does Not Create Specific
        Jurisdiction Over PLS Canada

        2.      In their Opposition, the Plaintiffs completely fail to address the most fundamental

undisputed facts relevant to this Court’s determination as to whether it is proper to exercise

personal jurisdiction over PLS Canada. This is a dispute regarding transactions between non-

U.S. entities. PLS Canada is incorporated in Canada and its headquarters and principal place of

business is in Canada. Latona, the counter-party to the SAFE and Services Agreement and the

Plaintiffs’ non-debtor affiliate, is a company organized under the laws of the Bahamas. Plaintiff

Alameda is a British Virgin Islands company. Plaintiff FTX Trading is a corporation registered in

Antigua and Barbuda. Nothing in the Opposition addresses – or can alter – these critical

undisputed facts.

        3.      The Plaintiffs attempt to create a specific personal jurisdiction theory based on the

underlying transfers having a tenuous connection to U.S. bank accounts. Contrary to the Plaintiffs’



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assertions, however, this tenuous connection does not provide a basis for the exercise of specific

jurisdiction over PLS Canada.

         4.       As a preliminary matter, the fact that the funds received by PLS Canada originated

from what appear to be U.S.-based banks is a “fortuitous contact between Defendants and the

United States, which cannot constitute a basis for the exercise of personal jurisdiction” as the

“receipt of a wire transfer is an inherently passive action.” Gargano v. Cayman Nat'l Corp., 2010

U.S. Dist. LEXIS 53774, *18-20 (D. Mass. June 2, 2010).3 As set forth by the court in Gargano,

         “[T]he fact that Defendants received money from Plaintiff's United States
         bank account is not purposeful availment of an opportunity to act in the United
         States. The receipt of a wire transfer is an inherently passive action. For
         Defendants purposes, it did not matter where the money came from or how it got
         to them. Plaintiff sought to purchase an annuity from CLICO, a Trinidadian
         insurance company, using Defendants as a broker. In order to do so, he needed to
         provide Defendants with the money for the transaction. And he happened to be
         holding those funds in a United States bank account at the time. It would have been
         equally acceptable to Defendants, if Plaintiff had transferred the necessary funds
         by physically walking into the Cayman National Bank and handing a teller cash or
         a paper check. Under such circumstances, no one could reasonably argue that
         Defendants had intentionally directed their conduct toward the United States, just
         because the money was at one time housed in a United States account. Cast in this
         light, it is clear that Defendants receipt of the funds by means of a wire transfer that
         originated in the United States is fortuitous contact between Defendants and the
         United States, which cannot constitute a basis for the exercise of
         personal jurisdiction.”

         5.       Moreover, even assuming that the funds were routed through CIBC’s U.S.

correspondent bank, Wells Fargo, this is insufficient to establish personal jurisdiction over PLS

Canada. Canadian Group Underwriters Ins. Co. v. M/V “Arctic Trader”, 1998 U.S. Dist. LEXIS

16293, *13 (S.D.N.Y. Oct. 15, 1998) (“The Court finds that these contacts are insufficient to




3
  Based on the information reflected on the CIBC statements of the incoming wires (Exs. 4, 7 and 10 to the Mills
Declaration), PLS Canada believed that the funds originated from non-U.S. bank accounts. The Plaintiffs have
provided information that appears to show that the funds originated from U.S. bank accounts (Plaintiffs Exs. 61, 63
& 66). Regardless, the origination of the funds from the U.S. “cannot constitute a basis for the exercise of personal
jurisdiction” over PLS Canada.

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assert personal jurisdiction over Defendants. The New York bank was used only as a conduit into

Defendant’s account with a London bank: Defendants do not maintain an account in New York,

and they had no part in selecting this bank as the intermediary.”). Likewise, PLS Canada had no

control over the utilization by CIBC of the Wells Fargo account, which according to its website,

CIBC apparently utilizes as a matter of procedure for all funds transferred in U.S. Dollars.4 Merely

“cutting and pasting” wire transfer instructions5 that reference the correspondent bank that CIBC

internally uses as a conduit to process funds sent in U.S. Dollars is insufficient to establish

jurisdiction over PLS Canada as the recipient of the funds. PLS Canada had no hand in directing

the process by which funds flowed into its Canadian bank.6

           6.       The cases cited by Plaintiffs for the proposition that the transfer of funds through a

U.S. correspondent bank is sufficient to create personal jurisdiction over PLS Canada are not

applicable to the circumstances here. This line of cases deals with personal jurisdiction over

defendant foreign banks that process funds through their U.S. correspondent banks, purposely

availing themselves of the U.S. banking system. See e.g., Bahr. Islamic Bank, BisB v. Arcapita

Bank B.S.C.(C) (In re Arcapita Bank B.S.C.(C)), 640 B.R. 604, 613, 617-18 (S.D.N.Y. 2022)

(personal jurisdiction found over defendant BisB Bahrain Islamic Bank because the foreign bank

deliberately directed plaintiff to send millions of dollars through its U.S. correspondent banks);

Licci v. Lebanese Canadian Bank, 732 F.3d 161, 169-71 (2nd Cir. 2013) (personal jurisdiction

found over defendant Lebanese Canadian Bank based on allegations that the foreign bank violated

various statutory duties by using its U.S. correspondent account to funnel money to terrorist




4
 See https://www.cibc.com/en/personal-banking/ways-to-bank/sending-receiving-wire-transfers.html, a print out of
which is attached to the Supplemental Mills Declaration as Ex. A.
5
    Plaintiffs Exs. 58, 62 & 64.
6
    Supplemental Mills Declaration, ¶ 4.

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groups); Sec. Investor Prot. Corp. v. Bernard L. Madoff Inv. Sec. LLC, 2022 Bankr. LEXIS 3550,

*7-12 (Bankr. S.D.N.Y. Dec. 15, 2022) (personal jurisdiction found over defendant Bank Julius

Baer & Co. Ltd. because, among other things, the foreign bank designated U.S. correspondent

banks to receive funds).

           7.        Finding personal jurisdiction over a foreign defendant bank utilizing the U.S.

banking system to receive funds is wholly distinguishable from personal jurisdiction over the

foreign recipient of funds that has no control over the process utilized by their foreign bank. In

this case, PLS Canada received the funds in its bank in Canada, CIBC. 7 The conduit through

which it may have flowed was a matter internal to CIBC, over which PLS Canada had no control.8

PLS Canada, therefore, cannot be said to have “purposefully availed” itself of the U.S. banking

system. Here, PLS Canada neither chose to use a U.S. bank, nor did it receive funds at a U.S.

bank. PLS Canada is therefore not subject to personal jurisdiction in this Court based on CIBC

having a process by which funds momentarily flowed through a U.S. correspondent bank of its

choosing.

B.         Neither the Provisions of the Services Agreement Nor
           the SAFE Provides for Specific Jurisdiction Over PLS Canada

           8.        The Plaintiffs assert that specific jurisdiction over PLS Canada can be based on an

arbitration provision in the Services Agreement which provides for a New York arbitration

applying New York law. Contrary to the Plaintiffs’ statements, however, the Services Agreement

does not contain a consent to jurisdiction in New York. In fact, the Services Agreement provides




7
    Exs. 3, 6 and 9 to the Mills Declaration.
8
  Even assuming that PLS Canada may have had knowledge that there would be a correspondent bank involved, as
the Plaintiffs assert (Plaintiffs Ex. 65), this does not change the fact that PLS Canada lacked the requisite control over
the process.

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that any judgment “may be entered in any court having jurisdiction thereof,” without any reference

to a particular jurisdiction. In this regard, Section 8.7 of the Services Agreement provides:9

            The Parties shall attempt to resolve any dispute, controversy or claim arising out of
            or relating to this Agreement (each, a “Dispute”) by good faith negotiations and
            consultation between or among themselves. In the event that such Dispute is not
            resolved on an informal basis within ninety (90) calendar the parties will submit
            the Dispute to mediation by a neutral mediator having at least ten (10) years’
            experience. The Parties covenant that they will use commercially reasonable
            efforts in participating in the mediation. The Parties agree that the mediator’s fees
            and expenses and the costs incidental to the mediation will be shared equally
            between the Parties. If the Parties cannot resolve the Dispute within ninety (90)
            calendar days of the Mediation, the Parties may (as their sole recourse) initiate
            confidential arbitration to resolve the Dispute (“Arbitration”). Such Arbitration
            shall be: (i) held in New York, New York; (ii) conducted by a single arbitrator
            applying New York law; (iii) administered by the American Arbitration
            Association in accordance with its Commercial Arbitration Rules. Judgment on the
            award rendered by the arbitrator may be entered in any court having jurisdiction
            thereof.

            9.       An arbitration provision does not constitute broad consent to personal jurisdiction

by PLS Canada for all disputes arising out of the Services Agreement. See e.g., Foster v. Device,

2012 U.S. Dist. LEXIS 175560, *17 (N.D. Cal. Nov. 21, 2012) (“[T]he court declines to find that

Defendant consented to the personal jurisdiction of this Court for all causes of action relating to

the Agreement simply because the Agreement includes a clause requiring the parties

to arbitrate disputes in San Francisco. On its face, the arbitration clause says nothing about either

party consenting to the personal jurisdiction in California. Without more, the court will not read

the agreement to say more than it explicitly states.”). The Plaintiffs themselves acknowledge that

a choice of law provision, standing alone, is insufficient to confer jurisdiction.10

            10.      Moreover, notwithstanding the Plaintiffs’ attempt to dismiss the consent to

jurisdiction provisions of the SAFE in a footnote as somehow being tied to, and subject to the



9
    Mills Declaration, Ex. 8 (Services Agreement).
10
     Opposition at 20, n.14 (citing cases).

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provisions of, the Services Agreement,11 Paragraph 7(f) of the SAFE specifically provides for

exclusive jurisdiction over matters related to the SAFE in Canada, with a Canada choice of law

provision, as follows:12

           The parties agree that this Safe (and all the rights and obligations hereunder)
           shall be governed by the laws of the Province of British Columbia and the federal
           laws of Canada applicable therein. Each party hereby submits to the exclusive
           jurisdiction of the Courts of Vancouver, British Columbia.

           11.       There is no basis for the Plaintiffs’ assertion – especially in light of the Complaint,

which clearly separates the fraudulent transfer claims into separate transactions governed by

separate agreements13 – that the provisions of the Services Agreement should somehow “trump”

the more express Canadian jurisdictional provisions of the SAFE. See e.g., Taylor v. Trevino, 569

F. Supp. 3d 414, 428 (N.D. Tex. 2021) (each alleged fraudulent transfer is viewed and

analyzed individually). Even if the separate transactions were viewed as a single transaction as

the Plaintiffs posit, there is no reason that the more specific jurisdictional language of the SAFE

in favor of Canada would not control over the Services Agreement.

           12.       Moreover, contrary to the Plaintiffs’ assertions, the references in the SAFE to U.S.

securities and tax law does not mean that PLS Canada has availed itself of U.S. laws.14 Rather,



11
     Opposition at 12, n.6.
12
     Mills Declaration, Ex. 5 (SAFE), at ¶ 7(f) (emphasis added).
13
     Complaint, ¶¶ 12, 65-71, 115, 120, 127, 133.
14
  The cases cited by Plaintiffs are inapposite, and deal with situations where a defendant actually operated in the U.S.
and availed itself of the protections of the U.S. laws, not where various laws might at some point become applicable.
Opposition at 20, n.15. Atchley v. Astrazeneca UK Ltd., 22 F.4th 204, 233-35 (finding specific jurisdiction over six
foreign suppliers that reached into the United States to contract with an affiliated U.S. manufacturer to be the
manufacturer’s exclusive agent in Iraq, finding that “the foreign defendants’ ability to complete their sales of the U.S.
manufacturers’ products in Iraq thus depended on their forum contacts. The U.S. and foreign defendants’ cooperative
business model benefitted from the protections of U.S. law. Domestic contract law would have likely governed
interactions between the foreign suppliers and their U.S. manufacturers, and their businesses benefited from the
protections of U.S. food and drug law, customs and export law, and intellectual property regime.”); In re Volkswagen
"Clean Diesel" Mktg., Sales Practices, & Prods. Liab. Litig., 2017 U.S. Dist. LEXIS 1109, *801, 819, 865 (N.D. Cal.
Jan. 4, 2017) (denying forum non conveniens request by Volkswagen in connection with a securities fraud class action
asserting claims under U.S. securities laws based on Volkswagen’s sale and alleged fraud related to its issuance of

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these provisions are included to reflect the intent of the parties with respect to the provisions of

the SAFE in the event that such law might be applicable in connection with a future liquidity event

under Canadian or U.S. law.15 Tellingly, the Plaintiffs have omitted in the Opposition the

references in the SAFE to non-U.S. and, specifically Canadian, securities laws. These references

in the SAFE include the following:

           THIS INSTRUMENT AND ANY SECURITIES ISSUABLE PURSUANT
           HERETO HAVE NOT BEEN REGISTERED UNDER THE UNITED STATES
           OF AMERICA SECURITIES ACT OF 1933, AS AMENDED (THE
           “SECURITIES ACT”), OR UNDER THE SECURITIES LAWS OF CERTAIN
           STATES OR OTHER JURISDICTIONS (“APPLICABLE SECURITIES
           LAWS”). THESE SECURITIES MAY NOT BE OFFERED, SOLD OR
           OTHERWISE TRANSFERRED, PLEDGED OR HYPOTHECATED EXCEPT
           AS PERMITTED IN THIS SAFE AND UNDER APPLICABLE SECURITIES
           LAWS PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT OR
           AN EXEMPTION THEREFROM.

           UNLESS PERMITTED UNDER APPLICABLE SECURITIES LAWS, THE
           HOLDER OF THIS SECURITY MUST NOT TRADE THE SECURITY BEFORE
           THE DATE THAT IS 4 MONTHS AND A DAY AFTER THE LATER OF (I)
           THE DATE OF ISSUANCE OF THIS SECURITY OR (II) THE DATE THE
           ISSUER BECAME A REPORTING ISSUER IN ANY PROVINCE OR
           TERRITORY.16

           [The Company qualifies as a “private issuer”, as such term is defined in
           Ontario pursuant to Section 73.4 of the Securities Act (Ontario) and elsewhere
           in Canada under National Instrument 45-106 – Prospectus Exemptions, and is
           not a reporting issuer, as such term is defined in the Securities Act (Ontario).1]
           1
             NTD: to be reviewed and (if needed) adjusted by company’s CA counsel.17

           The Investor is an accredited investor as such term is defined in: (x) if the
           investor is resident in the United States, Rule 501 of Regulation D under the

American Depository Receipts (ADRs) (U.S. dollar denominated form of equity ownership in a non-U.S. company)
that were sponsored by J.P Morgan and traded in the U.S. over-the-counter market).
15
   Mills Declaration, Ex. 5 (SAFE), at 3 (defining “Liquidity Event” as a “Change of Control, a Direct Listing or an
Initial Public Offering.”). The Plaintiffs point to the definition of “Direct Listing” as referencing U.S. securities law
(Opposition at 11-12), but fail to reference the definition of “Initial Public Offering” which deals with the listing of
shares, not under U.S. law, but on “any securities exchange.” See also Complaint, ¶ 66 (describing the future events:
“Under the SAFE Agreement, Latona received the right to certain of PLS’ capital shares in the event of certain
‘triggering’ events, namely, (1) equity financing, (2) a liquidity event, or (3) a dissolution event.”).
16
     Mills Declaration, Ex. 5 (SAFE), at 1 (emphasis added).
17
     Mills Declaration, Ex. 5 (SAFE), at 5 (Section 3(f)) (brackets and NTD in executed version) (emphasis added).

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           Securities Act, and/or (y) under applicable Canadian securities laws, shall
           provide evidence of the same if requested by the Company, and acknowledges
           and agrees that if not an accredited investor at the time of an Equity Financing,
           the Company may void this Safe and return the Purchase Amount. The Investor
           has been advised that this Safe and the underlying securities have not been
           registered under the Securities Act, or any state, federal or provincial securities
           laws and, therefore, cannot be resold unless they are covered by a prospectus filed
           under applicable Canadian securities laws, registered under the Securities Act
           and applicable state securities laws or unless an exemption from such registration
           requirements is available.18

           The Investor understands that the Company may be required to provide any one
           or more of the Canadian securities regulators or other regulatory agencies with
           the name, residential address, telephone number and e-mail address of such
           Investor as well as information regarding the number, aggregate purchase price
           and type of securities purchased under this Safe and the Investor hereby consents
           to and authorizes the foregoing use and disclosure of such information.19

           13.      To correct the Plaintiffs’ assertion that PLS Canada utilized only U.S. counsel in

connection with the Services Agreement and the SAFE, PLS Canada also utilized the services of

Canadian counsel at Goodmans LLP, one of Canada’s leading law firms.20

           14.      In sum, the Services Agreement did not contain an express consent to jurisdiction

in the U.S. and the SAFE provides for exclusive jurisdiction in Canada – and there are no other

provisions of the SAFE by which PLS Canada purposely availed itself of the U.S laws such that

PLS Canada has subjected itself to the specific jurisdiction of this Court. In any event, as Plaintiffs

acknowledge, a choice of law provision is insufficient on its own to establish specific

jurisdiction.21 Budget Blinds, Inc. v. White, 536 F.3d 244, 261 (3rd Cir. 2008).




18
  Mills Declaration, Ex. 5 (SAFE), at 5 (Section 4(b)) (emphasis added). The Plaintiffs omitted all but the first
clause of this Section 4(b) (Opposition at 11).
19
     Mills Declaration, Ex. 5 (SAFE), at 5-6 (Section 4(c)) (emphasis added).
20
     Supplemental Mills Declaration, ¶ 5.
21
     Opposition at 20, n.14.

                                                             10
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C.         The Incorporation of PLS Delaware at the Time of the Underlying Transactions
           Does Not Provide Grounds to Exercise Specific Jurisdiction Over PLS Canada

           15.      The Plaintiffs assert that specific jurisdiction over PLS Canada should be based on

the incorporation of PLS Delaware at the same time as the underlying transactions. To correct the

Plaintiffs’ assertion, the incorporation of PLS Delaware does not mean that PLS Canada has an

office or principal place of business in the U.S.                 As set forth in the Supplemental Mills

Declaration,22 PLS Delaware was formed in March 2022, around the same time as the transactions

and it was incorporated at Latona’s request. PLS Delaware is used for the sole and exclusive

purpose of processing payroll and providing benefits to PLS Canada’s U.S. employees. PLS

Delaware has never been utilized as anything other than a payroll processing entity and had no

involvement with the transactions at issue. The agreements were between PLS Canada and non-

U.S. Plaintiffs and Latona; PLS Delaware was not a party to these agreements. PLS Delaware no

offices, no business operations and generates no revenues. PLS Delaware has never functioned as

an operating entity. There can be no dispute as to these facts and Plaintiffs’ arguments in this

regard are undermined by their own actions: The Plaintiffs themselves have stated that they assert

no claims against PLS Delaware in this action.23 Therefore, jurisdiction over PLS Canada based

on the timing or circumstances of the incorporation of PLS Delaware, which has never in actuality

operated as anything other than a payroll entity, is not warranted.




22
     Supplemental Mills Declaration ¶ 7.
23
  See Plaintiffs’ Response to Platform Life Sciences, Inc.’s Motion to Dismiss for Failure to State a Claim [Dkt. 43]
(“Because Plaintiffs did not assert any claims against PLS Delaware in the Complaint, PLS Delaware’s motion to
dismiss for failure to state a claim is moot.”).

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D.       The Exercise of General Jurisdiction Over PLS Canada, a Canadian Corporation
         Not Doing Business in the U.S., is Not Appropriate

         16.      A corporation is generally “at home” in the “paradigm all-purpose forums” of its

“place of incorporation and principal place of business.” Corporations are usually only subject to

general jurisdiction in the forum where they are incorporated or have their principal place of

business. Claridge Assocs., LLC v. Schepis (In re Pursuit Capital Mgmt., LLC), 595 B.R. 631,

647 (Bankr. Del. 2018). Consequently, “it is incredibly difficult to establish general jurisdiction

over a corporation in a forum other than the place of incorporation or principal place of business.”

Malik v. Cabot Oil & Gas Corp., 710 Fed. Appx. 561, 563 (3rd Cir. 2017). PLS Canada is

incorporated in Canada and has its headquarters and principal place of business in Canada. It has

no business office in the U.S. The Plaintiffs have made no allegations to the contrary, nor could

they.

         17.      Importantly, PLS Canada has conducted no clinical trials in the United States.

Contrary to the Plaintiffs’ assertions that PLS Canada operates 83 clinical trial sites in the U.S.,

including in collaboration with CVS, it does not.24 PLS Canada operates no clinical trial sites,

and has no business operations, in the U.S. Rather, PLS Canada conducts, or is putting the

infrastructure in to conduct, clinical trials in developing nations, including expanding on McMaster

University’s TOGETHER Trial in Brazil and expansion of this initial trial to Rwanda, South

Africa, Pakistan, the Bahamas and Canada.25 Thus, the cases cited by the Plaintiffs to support



24
   See fn 2, supra. The “evidence” the Plaintiffs point to in support of PLS Canada conducting clinical trials in the
U.S. is based on a draft powerpoint created internally at PLS Canada which reflects PLS Canada’s ideas for future
business development. PLS Canada has never had a business affiliation with CVS, or the potential “experts and access
sites” in the U.S. identified in the draft presentation. Supplemental Mills Declaration, ¶ 6.
25
   As discussed in further detail below, PLS Canada did not conduct the initial TOGETHER Trial. It was conducted
by McMaster University, as a research project led by Dr. Mills and his colleague, Dr. Gilmar Reis, as McMaster
University researchers. The funding for the initial TOGETHER Trial was to McMaster University, not PLS Canada.
The funding later received by PLS Canada from Latona/Plaintiffs was to expand clinical sites capable of conducting
clinical trials. Supplemental Mills Declaration, ¶¶ 18-20.

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general jurisdiction based on the conduct of clinical trials in the U.S. are inapplicable here.26 While

PLS Canada might aspire to one day be in a position to expand its business more globally,

including into the U.S. at some point in the future, it has not done so. PLS Canada’s business,

from the outset, has been to develop clinical trial sites in developing countries. It does not operate

clinical trial sites, or conduct business operations, in the U.S. See Aritomo v. Rhee, 2022 U.S. Dist.

LEXIS 211799, *19 (S.D.N.Y. Nov. 22, 2022) (finding no general jurisdiction in New York over

an Austrian corporation based on documents, including a business plan, referring to future plans

and hopes to expand from Vienna worldwide, including into the New York market); DEB USA,

Inc. v. CWGC LA Inc., 2017 U.S. Dist. LEXIS 20027, *14-15 (W.D.N.C. Feb. 13, 2017) (court

found that personal jurisdiction based on “future plans” was lacking).

        18.      The Plaintiffs focus on PLS Canada’s employees working remotely – employees

that work for the Canadian company and whose business activities are directed, not to the U.S.,

but to the development of clinical trial sites in underrepresented countries, which PLS is, along

with its partners in these countries, currently in the process of establishing, in Brazil, Rwanda,

South Africa, Pakistan, the Bahamas and Canada. Contrary to the Plaintiffs’ assertions, in light of

the circumstances, the exercise of general jurisdiction over PLS Canada is not appropriate.

        19.      The Plaintiff cite to Pursuit Capital and Silver v. Countrywide Realty, Inc., 39

F.R.D. 596, 599 (S.D.N.Y. 1966) for the proposition that this Court should exercise general

jurisdiction over PLS Canada based on the location of its leadership (including management and




26
   Cacchillo v. Insmed Inc., 833 F. Supp. 2d 218, 228 (N.D.N.Y. 2011) (allegations that defendant pharmaceutical
research company tested the commercial viability of its only product primarily though New York research institutes
using New York residents); Surgical Laser Techs. v. C.R. Bard, Inc., 921 F. Supp. 281, 284 (E.D. Pa. 1996) (finding
no general jurisdiction over defendant in Pennsylvania, notwithstanding allegations that defendant supplied a laser
system for use in clinical trial in the forum).

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board members) working remotely for the Canadian company from the U.S.27 In addition to being

incorrect about the primary location of PLS Canada’s leadership and decisionmaking (which is in

Canada), the Plaintiffs fail to mention a critical distinction. In both of these decisions, unlike in

this case, the defendant corporation was alleged to have a principal place of business in the U.S.

See Pursuit Capital, 595 B.R. at 649 (allegations that each foreign corporate defendant

maintained its principal office in Connecticut, at the same address of the two individual

defendants who were the alter-egos of, and completely controlled, the foreign corporate entities

from Connecticut); Silver, 39 F.R.D. at 599 (foreign corporation’s business was in the hands of

companies having their principal places of business in New York). Here, unlike in the decisions

cited by the Plaintiffs, PLS Canada does not have a principal place of business in the U.S.

Moreover, contrary to the Plaintiffs’ assertions, PLS Canada does not have its leadership or

decisionmaking been in the U.S.

           20.      Dr. Mills (the founding member of PLS Canada, a member of the board, the current

CEO (since May 2023) and former Chief Scientific Officer) lives and works for PLS Canada in

Canada. Since its founding in Canada in February 2021, Dr. Mills has served the primary

leadership role in the company.28

           21.      Contrary to the Plaintiffs’ assertions, Mr. Michael Zimmerman (a prior member of

the board and the CEO of PLS Canada), lived and worked for PLS Canada in Canada during his

tenure with PLS Canada until his departure from the company in May 2023.29



27
 Opposition, p. 19, n.8. As set forth in the Mills Declaration (¶ 7), PLS Canada set forth that it has remote employees
working in the U.S. This fact was disclosed and is not in dispute.
28
     Supplemental Mills Declaration, ¶ ¶ 8, 15.
29
  Supplemental Mills Declaration, ¶ 9. Attached as Ex. C to the Supplemental Mills Declaration are rental contracts
for Mr. Zimmerman’s residence in Vancouver, Canada for the period from July 4, 2022 to October 13, 2022 and
December 1, 2022 to May 31, 2023 (redacted). Prior to that time, Mr. Zimmerman was in Canada on a regular basis,
residing at the Granville Island Hotel in Vancouver, close to the PLS Canada headquarters. See Ex. C.

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           22.      Dr. Mark Dybul (who has served as the executive chairman since 2022) is a world

renowned scientist and professor at Georgetown University and is located the U.S.30 Dr. Dybul

has virtually attended PLS Canada board meetings from both the U.S. and abroad. He is not a

member of management or an employee of PLS Canada.31

           23.      The Plaintiffs’ assertions with respect to Mr. Rheingens-Yoo are also incorrrect.

Mr. Rheingens-Yoo was not involved in the transactions at issue here on behalf of PLS Canada

(rather, he acted on behalf of the counter-parties, Latona and FTX Foundation). Pursuant to the

terms of the transactions, Mr. Rheingens-Yoo has served on the board of PLS Canada from June

6, 2022, but has not been an active participant in board activities or decisionmaking (he attended

2 of the 3 board meetings held during the period following his appointment to the board).

Moreover, until July 2023, Mr. Rheingens-Yoo resided in the Bahamas and then Hong Kong, and

he attended both of the PLS Canada board meetings virtually from abroad, not the U.S.32

           24.      The Plaintiffs are incorrect when they assert that the leadership of PLS Canada is

in the U.S. To the contrary, PLS Canada’s leadership team, headed by Dr. Mills and Mr.

Zimmerman (until his departure in May 2023), has been based in Canada, and includes Chief

Operating Officer Dr. Jamie Forrest and CFO Chris Clarke; both of whom are Canadian citizens

and residents.33

           25.      The information relied on by the Plaintiffs with respect to the assertions regarding

the location of leadership is not accurate. First, the “Our Team” tab reflected on PLS Canada’s



30
     Plaintiffs Ex. 5 (Dr. Mark Dybul’s bio from the PLS Canada website).
31
     Supplemental Mills Declaration, ¶ 10.
32
     Supplemental Mills Declaration, ¶ 11.
33
  Supplemental Mills Declaration, ¶ 12. See also Plaintiffs Ex. 1 at 12-13 (Investment Proposal to FTX Foundation
dated March 28, 2022) setting forth that the key personnel of PLS Canada was comprised of Dr. Mills, Dr. Forrest and
Mr. Zimmerman.

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website print-out is not, as the Plaintiffs claim, entitled “PLS Leadership Team.”34 In addition,

the website print-out referred to by the Plaintiffs reflects out-of-date information (for example,

Melissa Bomben is no longer with the company), and it is otherwise not reflective of the actual

leadership of the company (for example, Bob Battista, Twanna Davis and Katie Winter do not hold

executive leadership positions with the company).35 Thus, PLS Canada’s board, decisionmaking

and leadership cannot be said to be in the U.S for jurisdictional purposes.

           26.       As set forth in the Motion, PLS Canada utilizes remote employees that are based in

the U.S. Contrary to the Plaintiffs’ assertions, however, these remote employees are not in

leadership or management roles with the company. In addition, the cases cited by the Plaintiffs

for the more general proposition that the presence of employees working remotely from the U.S.

is grounds to assert general jurisdiction over PLS Canada are distinguishable.36 For example, in

Functional Pathways of Tenn., LLC v. Wilson Senior Care, Inc., 866 F. Supp. 2d 918, 929 (E.D.

Tenn. 2012), the court found jurisdiction over a South Carolina corporation proper in Tennessee

because the corporation had provided therapy services at a healthcare facility in Tennessee,

pursuant to a contractual agreement with the facility, through its employees working at the facility

and thus was physically present and conducting business in Tennessee. Similarly, in Dorsey v.

American Golf Corp., 98 F. Supp. 2d 812, 815 (E.D. Mich. 2000), a California defendant

corporation that operated and managed golf and tennis clubs was subject to general jurisdiction in

Michigan, because it managed seven golf courses in Michigan pursuant to management

agreements, it maintained employees in Michigan, and was the managing partner of a Michigan

corporation. Unlike in the cases cited by Plaintiffs, here, there is no principal office or location


34
     Plaintiffs Ex. 4 (print-out of PLS Canada’s website referencing “Our Team”).
35
     Supplemental Mills Declaration, ¶ 13.
36
     Opposition, p. 19, n.9.

                                                            16
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where the PLS Canada remote employees work from in the U.S., nor do they provide services to

an entity located in the U.S. – they provide services solely to PLS Canada in aid of the development

of clinical trial sites in underrepresented non-U.S. nations. The remote employees could perform

their employment functions for PLS Canada from any location; some just happen to live, and work

from, various cities and states in the United States.37

           27.      Further, the Plaintiffs’ assertion with respect to Dr. Mills’ ties to the U.S. are

incorrect. Dr. Mills is PLS Canada’s founder and CEO and holds the primary management and

leadership role at PLS Canada. Dr. Mills is the spokesperson for PLS Canada in connection with

this matter and it would be highly disruptive to impose jurisdiction over PLS Canada, compelling

it, through its CEO, to litigate in this Court. Contrary to Plaintiffs’ assertions, Dr. Mills’ ties to

the U.S. are not extensive. Dr. Mills lives and works in Vancouver, Canada. For over 16 years,

he has been a professor at McMaster University in Ontario and is also a professor at the University

of Rwanda. In 2021, he founded PLS Canada in Vancouver. Dr. Mills has not to date been active

as a senior scientist with Virx@Stanford (which is a global pandemic response initiative made up

of academics from all over the world, it is not a position at Stanford University in Palo Alto,

California), but any work related to this initiative would be done from Canada, in coordination

with PLS Canada’s clinical trial site partners in Brazil and other developing nations. Dr. Mills

also worked at the Vancouver office of Cytel Canada, after Cytel, Inc. (which, according to its

website, has operations across North America, Europe, Asia and India) acquired the Vancouver

company he co-founded, MTEK Sciences, in 2019.38



37
     Supplemental Mills Declaration, ¶ 14.
38
  Supplemental Mills Declaration, ¶ 15. See also https://www.cytel.com/about-us/ (Cytel, Inc.’s locations), a print
out of which is attached to the Supplemental Mills Declaration as Ex. D; https://www.labmanager.com/cytel-acquires-
mtek-sciences-further-expanding-its-advanced-real-world-analytics-capabilities-578 (Cytel, Inc.’s acquisition of
MTEK Sciences in 2019), a print out of which is attached to the Supplemental Mills Declaration as Ex. E.

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         28.      The Plaintiffs’ assertions that PLS Canada publishes in U.S. medical journals is

incorrect and improperly merges the academic work of scientists with company business

activities.39 Dr. Mills, along with his academic co-author researchers, has published articles in the

New England Journal of Medicine (and these publications are generally searchable via PubMed).40

Contrary to the Plaintiffs’ assertion, the Lancet is a British journal. These are worldwide

publications available to the global medical community.41 The publication of scientific articles by

academics on issues of global health which reach the scientific community worldwide, co-authored

in collaboration with both non-U.S. and U.S.-based research professionals, which appear in

mainstream, globally-respected medical journals (even if published by U.S. publishers) with the

aim of reaching the global medical community, or the attendance at medical-related conferences

held in the U.S., cannot be the standard for general jurisdiction or each and every foreign

corporation in the medical field would automatically be subject to jurisdiction in the U.S. as it

sought to provide information, and stay current and relevant, in the developing field of global

medical research and topics. See e.g., Clark v. Noyes, 871 S.W.2d 508, 519 (Tex. App. 1994)

(declining to exercise general jurisdiction over defendant based on the submission of articles to



39
  Plaintiffs Ex. 16 (list of publications from PLS Canada’s website); Plaintiffs Exs. 17-21 (publications co-authored
by Dr. Mills and various U.S. and non-U.S. academics). These medical journals target a global, not specifically U.S.,
audience.
40
   https://pubmed.ncbi.nlm.nih.gov/about/ (“PubMed is a free resource supporting the search and retrieval of
biomedical and life sciences literature with the aim of improving health–both globally and personally.”), a print out
of which is attached to the Supplemental Mills Declaration as Ex. H.
41
  https://www.nejm.org/about-nejm/about-nejm (“The New England Journal of Medicine (NEJM) is recognized as
the world’s leading medical journal and website. Published continuously for over 200 years, NEJM delivers high-
quality, peer-reviewed research and interactive clinical content to physicians, educators, researchers, and the global
medical community.”), a print out of which is attached to the Supplemental Mills Declaration as Ex. F.
https://www.thelancet.com/about-us (“The Lancet journals are both a destination for publication and a platform to
advance the global impact of research. The Lancet Group cares that your work is highly visible to a global network of
researchers, clinicians, industry professionals, policy makers, media outlets, patients, and the wider public, and we
work with you and your affiliated institutions to maximise the impact of your research on the world. … Lancet journals
have extensive global reach with more than 36.8 million annual visits and 98.8 million downloaded articles across
TheLancet.com and ScienceDirect.”), a print out of which is attached to the Supplemental Mills Declaration as Ex. G.

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professional medical journals circulated and attendance at medical conferences in the forum);

Foster-Gwin, Inc. v. Fallwell, 2001 U.S. Dist. LEXIS 18151, *1 (N.D. Cal. Nov. 5, 2011) (denying

jurisdiction in California over an antiques dealer and appraiser based on facts that he owned three

non-operative websites and he occasional published articles in a magazine that was probably

circulated in California); Arlington Indus. v. Elec. Custom Distribs., 817 F. Supp. 2d 473, 478

(M.D. Pa. 2011) (citing Autogenomics, Inc. v. Oxford Gene Tech. Ltd., 566 F.3d 1012, 1014-18

(Fed. Cir. 2009) (denying jurisdiction notwithstanding numerous factors weighing in favor of

general jurisdiction, including participation at scientific conferences).

          29.     Contrary to the Plaintiffs’ intimations, Dr. Mills does not exclusively publish in

U.S. medical journals.42 The cases cited by the Plaintiffs are factually distinguishable and do not


42
    Supplemental Mills Declaration ¶ 17. A list of publications authored by Dr. Mills and others in non-U.S. journals
(i.e., not the New England Journal of Medicine which, as discussed, is a world renowned medical journal that has a
worldwide reach) from May 2022 to the present includes:
     1.   Nachega JB, Nsanzimana S, Rawat A, Wilson LA, Rosenthal PJ, Siedner MJ, et al. Advancing detection
            and response capacities for emerging and re-emerging pathogens in Africa. Lancet Infect Dis.
            2023;23(5):e185-e9.
     2.   Smith ER, Oakley E, Grandner GW, Ferguson K, Farooq F, Afshar Y, et al. Adverse maternal, fetal, and
            newborn outcomes among pregnant women with SARS-CoV-2 infection: an individual participant data
            meta-analysis. BMJ Glob Health. 2023;8(1).
     3.    Sam-Agudu NA, Quakyi NK, Masekela R, Zumla A, Nachega JB. Children and adolescents in African
            countries should also be vaccinated for COVID-19. BMJ Glob Health. 2022;7(2).
     4.   Reis G, Dos Santos Moreira-Silva EA, Silva DCM, Thabane L, Milagres AC, Ferreira TS, et al. Effect of
            early treatment with fluvoxamine on risk of emergency care and hospitalisation among patients with
            COVID-19: the TOGETHER randomised, platform clinical trial. Lancet Glob Health. 2022;10(1):e42-
            e51.
     5.   Reis G, Dos Santos Moreira Silva EA, Medeiros Silva DC, Thabane L, Cruz Milagres A, Ferreira TS, et al.
            Effect of early treatment with metformin on risk of emergency care and hospitalization among patients
            with COVID-19: The TOGETHER randomized platform clinical trial. Lancet Reg Health Am.
            2022;6:100142.
     6.   Petersen E, Ntoumi F, Hui DS, Abubakar A, Kramer LD, Obiero C, et al. Emergence of new SARS-CoV-2
            Variant of Concern Omicron (B.1.1.529) - highlights Africa's research capabilities, but exposes major
            knowledge gaps, inequities of vaccine distribution, inadequacies in global COVID-19 response and
            control efforts. Int J Infect Dis. 2022;114:268-72.
     7.   Nsanzimana S, Mills EJ. Estimating HIV incidence in sub-Saharan Africa. Lancet HIV. 2023;10(3):e146-
            e8.
     8.   Mills EJ, Reis G. Evaluating COVID-19 vaccines in the real world. Lancet. 2022;399(10331):1205-6.
     9.   Nachega JB, Musoke P, Kilmarx PH, Gandhi M, Grinsztejn B, Pozniak A, et al. Global HIV control: is the
            glass half empty or half full? Lancet HIV. 2023;10(9):e617-e22.

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support the publication of medical research articles by academics as sufficient to exercise of

general jurisdiction over PLS Canada.43

           30.    The Plaintiffs are also incorrect in their assertion that Dr. Mills traveled to the U.S.

in May 2022 on behalf of PLS Canada. To clarify, Dr. Mills traveled to the U.S. to receive an

award in the U.S. from the Society of Clinical Trials, an international professional organization,44

for McMaster University’s work on the TOGETHER Trial which was conducted in Brazil

commencing in June 2020. As a research professor at McMaster University, Dr. Mills was one of

the lead researchers (along with his colleague, Dr. Gilmar Reis) on the initial TOGETHER Trial

(which commenced prior to the formation of PLS Canada).45 Dr. Mills’ travel to the U.S. to accept




     10.     Thorlund K, Smith D, Linsell C, White N, Butler C, Boulware D, et al. The importance of appropriate
             selection of clinical endpoints in outpatient COVID-19 clinical trials. Commun Med (Lond).
             2023;3(1):53.
     11.     Jhuti D, Rawat A, Guo CM, Wilson LA, Mills EJ, Forrest JI. Interferon Treatments for SARS-CoV-2:
             Challenges and Opportunities. Infect Dis Ther. 2022;11(3):953-72.
     12.    Nachega JB, Scarsi KK, Gandhi M, Scott RK, Mofenson LM, Archary M, et al. Long-acting antiretrovirals
             and HIV treatment adherence. Lancet HIV. 2023;10(5):e332-e42.
     13.    Bepouka B, Situakibanza H, Sangare M, Mandina M, Mayasi N, Longokolo M, et al. Mortality associated
             with COVID-19 and hypertension in sub-Saharan Africa. A systematic review and meta-analysis. J Clin
             Hypertens (Greenwich). 2022;24(2):99-105.
     14.    Peer N, Nguyen KA, Hill J, Sumner AE, Cikomola JC, Nachega JB, et al. Prevalence and influences of
             diabetes and prediabetes among adults living with HIV in Africa: a systematic review and meta-analysis.
             J Int AIDS Soc. 2023;26(3):e26059.
43
   United States SEC v. Carrillo, 115 F.3d 1540, 1541, 1545 (11 th Cir. 1997) (action by the Securities & Exchange
Committee against Costa Rican company and its Costa Rican principals asserting that defendants fraudulently offered
and sold unregistered securities to U.S. residents to finance operations, and finding personal jurisdiction based mailing
of investment-related materials to U.S. residents, funding flowing into bank account at a branch located in Miami
which the company maintained for the convenience of the U.S. investors, and numerous advertisements and articles
related to the challenged investments directed to U.S. investors placed in a Costa Rican airline magazine and American
Airlines complimentary magazine, American Way); Ipoint Ventures, LLC v. Pequot Capital Mgmt., 2005 U.S. Dist.
LEXIS 16039, *29-30 (D.N.J. July 27, 2005) (finding general jurisdiction over venture capital firm in New Jersey
based on defendant belonging to several trade organizations targeting New Jersey businesses, its agents speaking at
conferences in New Jersey to discuss venture capital investment in New Jersey, aggressively pursuing development
of investment opportunities in New Jersey and entering into agreements with ties to New Jersey).
44
  Plaintiffs Ex. 47 (Society for Clinical Trials’ press release dated 2-May-2022: “TOGETHER trial named David
Sackett Trial of the Year.”).
45
   Supplemental Mills Declaration ¶ 18. See also https://brighterworld.mcmaster.ca/articles/mcmaster-researchers-
leading-international-study-to-test-three-widely-available-drugs-for-early-covid-19-treatment, a print out of which is
attached to the Supplemental Mills Declaration as Ex. I.

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this award on behalf of McMaster University cannot form the basis for personal jurisdiction over

PLS Canada. Alicea v. LT's Benjamin Records, 762 F. Supp. 2d 299, 308-09 (D. Mass. 2010)

(declining to exercise personal jurisdiction over defendant based on travel to Harvard to accept an

award unrelated to the claims at issue).

           31.      The Plaintiffs are also incorrect in their assertion that PLS Canada is funded by

U.S. entities. Funding for the initial TOGETHER Trial (sponsored by the Bill & Melinda Gates

Foundation, FastGrants and Rainwater Charitable Foundation), does not establish the requisite

connections for general jurisdiction over PLS Canada as the funding was provided to McMaster

University, not to PLS Canada.46 The funding that PLS Canada received was for the expansion

of the initial TOGETHER Trial in Brazil and into Canada other non-U.S. developing nations

(Rwanda, South Africa and the Bahamas). This funding for the development of non-U.S. clinical

trial sites that is being undertaken by PLS Canada came from non-U.S. companies,

Latona/Plaintiffs.47 Moreover, the partnership with GreenLight Biosciences is to provide support

for their clinical trial in Rwanda.48            The cases cited by the Plaintiffs are distinguishable and

inapplicable49 and, in the case of Pursuit Capital, 595 B.R. at 647-48, does not stand for the

proposition for which it is cited.50


46
     Supplemental Mills Declaration, ¶ 19.
47
     Supplemental Mills Declaration, ¶ 20.
48
  Supplemental Mills Declaration, ¶ 21. See also Plaintiffs Ex. 52 (PLS Canada’s press release dated 02 Feb, 2023:
“Rwanda FDA approves Platform Life Sciences and GreenLight Biosciences to launch a Phase I clinical trial in
Rwanda for mRNA COVID-19 vaccine”).
49
   See Wells Fargo Bank, N.A. v. RLJ Lodging Trust, 2013 U.S. Dist. LEXIS 152098, *23 (N.D. Ill. Oct. 23, 2013)
(finding general jurisdiction in Illinois over a Maryland real estate investment trust based on the trust’s contacts with
Illinois to solicit business and keep investors apprised of the trust’s activities through the visits by trust officers to
Illinois and conference calls, combined with revenue derived from Illinois and shares of stock held by
Illinois investors).
50
  The Plaintiffs’ cite to Pursuit Capital for the proposition that the court found general jurisdiction based, in part, on
the fact that “Defendants should not be surprised to find themselves in a United States court because they had United
States based investors,” was not the court’s holding, but was the plaintiffs’ argument at the hearing in that case. The
court’s finding of personal jurisdiction in Pursuit Capital was based on allegations in the complaint that each Cayman

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           32.      Ipoint Ventures, LLC v. Pequot Capital Mgmt. – which the Plaintiffs cite for the

proposition that a company was even held subject to general jurisdiction based on “investments in

the forum, speaking at conferences in the forum and taking specific actions in the forum geared at

encouraging further investment here”51 – does not provide the basis for general jurisdiction over

PLS Canada and, in fact, highlights the very difference between the cases finding general

jurisdiction and this case. Ipoint Ventures dealt with a capital management company that was

involved with activities directed at seeking venture capital investments in the forum (i.e.,

investment opportunities in New Jersey-based businesses). Here, the activities, conferences,

publications and other activities of PLS Canada’s employees are not directed at seeking

investments in the U.S. Rather, they are directed at the development of non-U.S. clinical trial sites

(in Brazil, Rwanda, South Africa, Pakistan, the Bahamas and Canada) by a company doing

business in Canada.


E.         The Plaintiffs are Not Entitled to Jurisdictional Discovery

           33.      The evidence in this case demonstrates that the Plaintiffs cannot establish a prima

facie case for personal jurisdiction over PLS Canada. This a dispute involving non-U.S. entities

on both sides – PLS Canada, as the alleged transferee, and the non-U.S. Plaintiffs (British Virgin

Islands and Antigua and Barbuda corporations), as the alleged transferors.                           Latona, the

counterparty to the funding agreements, is a company organized in the Bahamas. The Plaintiffs’

claims against PLS Canada seeking to claw-back the funding provided to this Canadian company




defendant maintained its principal office in Connecticut and that the individual principals and board members who
were in complete control and were alter-egos of the Cayman entities were Connecticut residents, providing sufficient
allegations to support that Connecticut was where all decisions were made. Id. at 649-50. In any event, the decision
does not provide support for the Plaintiffs’ argument as the sponsorship by U.S. entities to fund the TOGETHER Trial
was not provided to PLS Canada.
51
     Opposition at 19, n.11 and 21.

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did not arise from business activities directed to the U.S.           PLS Canada is incorporated,

headquartered and does business, in Canada. PLS Canada operates no clinical trial sites, and has

no business operations, in the U.S. Its business is to develop and operate clinical trial sites in

developing and underrepresented non-U.S. nations. PLS Canada’s remote employees in the U.S.

do not direct their business activities at projects in the U.S., and PLS Canada’s leadership and

decisionmaking is not in the U.S.

       34.     The standard in the Third Circuit is clear – where a plaintiff has failed to make a

prima facie showing of personal jurisdiction, a grant of jurisdictional discovery is not appropriate.

3G Licensing, S.A. v. Lenovo Grp. Ltd., 2019 U.S. Dist. LEXIS 143453, *8-9, *23-24 (D. Del.

Aug. 22, 2019) (“[C]an a plaintiff be entitled to jurisdictional discovery if it has not made out

a prima facie showing of personal jurisdiction? It appears that, pursuant to Third Circuit case law,

the answer is ‘no.’ Indeed, the Third Circuit has repeatedly indicated that if a plaintiff fails to

make out a prima facie showing, a grant of jurisdictional discovery would not be appropriate.”).

The Third Circuit has described a prima facie showing as one that demonstrates “with reasonable

particularity sufficient contacts between the defendant and the forum state.” Id. at *6, 23. The

Plaintiffs have not, and cannot, make this requisite showing here and the grant of jurisdictional

discovery is therefore not appropriate.


                                                 III.

                                          CONLCUSION

       35.     Even accepting all of the Plaintiffs’ unrebutted jurisdictional allegations as true, the

Plaintiffs have failed to show sufficient grounds for this Court’s exercise of either specific or

general jurisdiction over PLS Canada and the Motion should be granted.




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Dated:   October 6, 2023          PACHULSKI STANG ZIEHL & JONES LLP

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